






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00087-CV







Gary Lee Adams; Evaristo B. Alfaro; Ronnie Allred; Felix C. Almaguer;

Luis Alva; Juan M. Alvarez; Veronica R. Alvarado; Miguel V. Amador;

Reynaldo M. Anaya; Bruce Andrews; Phil A. Anderson; Guillermo

Armendariz; Ruben Arreola, Jr.; et al., Appellants 


v.


Gray &amp; Becker, P.C., Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. GN104246, HONORABLE F. SCOTT MCCOWN, JUDGE PRESIDING



	


O R D E R



PER CURIAM

		Appellants' motion to consolidate this appeal with other related appeals is overruled.
Gray &amp; Becker's motion to show authority and motion to dismiss are overruled.  Gray &amp; Becker's
motion to strike the appellants' motion to consolidate in this case is dismissed.  Gray &amp; Becker's
motion for sanctions in this case remains pending.  Appellants' motion and amended motion to
reverse orders on discovery with motion for protective order are dismissed.

		The parties are instructed that if any further motions are filed, they are to be filed
singly in each cause number.  



		It is ordered May 2, 2002.


Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Do Not Publish


